         Case 1:19-cv-00755-CCR Document 1 Filed 06/07/19 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK
                                  BUFFALO DIVISION


ALEXIS WEBB, pleading on her own behalf ) Case No.: 1:19-cv-755
and on behalf of all other similarly situated )
consumers,                                    )
                                              )
               Plaintiff,                     ) CLASS ACTION COMPLAINT
       vs.                                    )
                                              )
MERCANTILE ADJUSTMENT BUREAU, )
LLC,                                          )
                                              )
               Defendant.                     )


       Plaintiff alleges:

                               PRELIMINARY STATEMENT


1.     This is an action for damages arising from Defendant’s violations of the Fair Debt

Collections Practices Act, 15 U.S.C. §1692 et seq. (hereinafter “FDCPA”).


                               JURSIDICTION AND VENUE


2.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 and 15 U.S.C.

§1692k(d).


3.    Venue is proper in this district under 28 U.S.C §1391(b).


                                           PARTIES


4.     Plaintiff is a resident of Wilmington, Delaware and is a “consumer” as the phrase is defined

and applied under 15 U.S.C. §1692(a) of the FDCPA.
          Case 1:19-cv-00755-CCR Document 1 Filed 06/07/19 Page 2 of 7




5.      Defendant is a corporation doing business in the State of Delaware, with its corporate

headquarters located at 165 Lawrence Bell Drive, Suite 100, Williamsville, New York 14221, and

is “debt collector” as the phrase is defined and applied under 15 U.S.C. §1692(a) of the FDCPA.


                                   FACTUAL STATEMENT


6.      On a date better known by Defendant, Plaintiff incurred a personal debt.

7.      Plaintiff’s personal debt is considered a “debt” as that term is used and defined under the

FDCPA.

8.      In an attempt to collect a debt, Defendant made a call to Plaintiff’s phone.

9.      Plaintiff was unable to answer the call, and Defendant left a voicemail message on

Plaintiff’s machine.

10.     The message stated:

        Hello this is Daniel Lopez, with an important message with Mercantile Adjustment

        Bureau. Please contact me at 877-254-0597. When calling back in, please use reference

        number 64148911. Thank you.

11.     The voicemail highlighted above is a communication in connection with the collection of

debt.

12.     During the message, Defendant failed to state the required mini-miranda language.

13.     Upon information and belief, it is Defendant’s regular practice to leave the exact message

complained of herein, on the voicemails of consumers that do not pick up their phone.

                               CLASS ACTION ALLEGATIONS

                                             The Class




                                                 2
           Case 1:19-cv-00755-CCR Document 1 Filed 06/07/19 Page 3 of 7




14.     Plaintiff brings this as a class action pursuant to Fed. R. Civ. P. 23 on behalf of herself and

all others similarly situated who have received similar debt collection notices and/or

communications from Defendant which, as alleged herein, are in violation of the FDCPA.

15.     With respect to the Plaintiff’s Class, this claim is brought on behalf of a class of: (a) all

persons in the State of Delaware; (b) for whom Defendant left a message; (c) that did not identify

that Defendant was a debt collector; (d) made in connection with Defendant’s attempt to collect

a debt; (e) which the said messages violate the FDCPA; (f) during a period beginning one year

prior to the filing of this initial action and ending 21 days after the service of the initial complaint

filed in this action.

16.     Excluded from the Class is Defendant herein, and any person, firm, trust, corporation, or

other entity related to or affiliated with the defendant, including, without limitation, persons who

are officers, directors, employees, associates or partners of Defendant.

                                             Numerosity

17.     Upon information and belief, Defendant has left messages in attempt to collect a debt to

hundreds of consumers throughout the State of Delaware, each of which violates the FDCPA. The

members of the Class, therefore, are believed to be so numerous that joinder of all members is

impracticable.

18.     The messages left by Defendant, and received by the Class, are to be evaluated by the

objective standard of the hypothetical “least sophisticated consumer.”

19.     The exact number and identities of the Class members are unknown at this time and can

only be ascertained through discovery. Identification of the Class members is a matter capable of

ministerial determination from Defendant’s records.

                               Common Questions of Law and Fact




                                                   3
          Case 1:19-cv-00755-CCR Document 1 Filed 06/07/19 Page 4 of 7




20.    There are questions of law and fact common to the class that predominates over any

questions affecting only individual Class members. The single issue of whether class members

received phone messages that lacked information required by the FDCPA is common to the class

members and predominates over any individual issue. The exact script of the messages need not

be common to the class members, since it is the lack of information that is relevant. The principal

issues are whether the Defendant's messages, such as the above said message, violates 15 U.S.C.

§1692e(11).

                                             Typicality

21.    The Plaintiff’s claims are typical of the claims of the class members. Plaintiff and all

members of the Plaintiff's Class defined in this complaint have claims arising out of the

Defendant's common uniform course of conduct complained of herein. Plaintiff's claims are

typical of the claims of the Class, and Plaintiff has no interests adverse or antagonistic to the

interests of other members of the Class.

                         Protecting the Interests of the Class Members

22.    Plaintiff will fairly and adequately represent the Class members' interests, in that the

Plaintiff's counsel is experienced and, further, anticipates no impediments in the pursuit and

maintenance of the class action as sought herein.

23.    Neither the Plaintiff nor her counsel have any interests, which might cause them not to

vigorously pursue the instant class action lawsuit.

                       Proceeding Via Class Action is Superior and Advisable

24.    A class action is superior to other methods for the fair and efficient adjudication of the

claims herein asserted, this being specifically envisioned by Congress as a principal means of

enforcing the FDCPA, as codified by 15 U.S.C.§ 1692(k).




                                                  4
          Case 1:19-cv-00755-CCR Document 1 Filed 06/07/19 Page 5 of 7




25.    The members of the Class are generally unsophisticated individuals, whose rights will not

be vindicated in the absence of a class action.

26.    Prosecution of separate actions by individual members of the Class would create the risk

of inconsistent or varying adjudications resulting in the establishment of inconsistent or varying

standards for the parties.

27.    Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil Procedure is also

appropriate in that a determination that the said messages violate 15 U.S.C. § 1692e(11) is

tantamount to declaratory relief and any monetary relief under the FDCPA would be merely

incidental to that determination.

28.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is also

appropriate in that the questions of law and fact common to members of the Plaintiff's Class

predominate over any questions affecting an individual member, and a class action is superior to

other available methods for the fair and efficient adjudication of the controversy.

29.    Depending on the outcome of further investigation and discovery, Plaintiff may, at the time

of class certification motion, seek to certify one or more classes only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).

30.    A class action will permit a large number of similarly situated persons to prosecute their

common claims in a single forum simultaneously, efficiently, and without the duplication of effort

and expense that numerous individual actions would engender. Class treatment also will permit

the adjudication of relatively small claims by many Class members who could not otherwise afford

to seek legal redress for the wrongs complained of herein.

31.    Absent a class action, the Class members will continue to suffer losses borne from

Defendant's breaches of Class members' statutorily protected rights as well as monetary damages,




                                                  5
           Case 1:19-cv-00755-CCR Document 1 Filed 06/07/19 Page 6 of 7




thus allowing and enabling: (a) Defendant's conduct to proceed and; (b) Defendant to further enjoy

the benefit of its ill-gotten gains.

32.     Defendant has acted, and will act, on grounds generally applicable to the entire Class,

thereby making appropriate a final injunctive relief or corresponding declaratory relief with respect

to the Class as a whole.

                                   COUNT I
          VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. §1692 et seq

33.     Plaintiff repeats the allegations contained in the above paragraphs and incorporates them

as if specifically set forth at length herein.


34.     Defendant engaged in unfair and deceptive acts and practices, in violation of 15 U.S.C.

1692e(11).


35.     Section 1692e provides:


                § 1692e. False or misleading representations


                A debt collector may not use any false, deceptive, or misleading
                representation or means in connection with the collection of any debt.
                Without limiting the general application of the foregoing, the following
                conduct is a violation of this section: . . .
                (11) The failure to disclose in the initial written communication with
                the consumer and, in addition, if the initial communication with the
                consumer is oral, in that initial oral communication, that the debt
                collector is attempting to collect a debt and that any information
                obtained will be used for that purpose, and the failure to disclose in
                subsequent communications that the communication is from a debt
                collector, except that this paragraph shall not apply to a formal
                pleading made in connection with a legal action.
        WHEREFORE, Plaintiff, Alexis Webb, respectfully requests that this Court do the

following for the benefit of Plaintiff:



                                                 6
          Case 1:19-cv-00755-CCR Document 1 Filed 06/07/19 Page 7 of 7




            a. Enter an Order declaring Defendant’s actions, as described above, in violation of
            the FDCPA;
            b. Enter an Order for injunctive relief prohibiting such conduct in the future;
            c. Appoint Plaintiff as the Class Representative, and appoint Plaintiff’s Counsel as
            Lead Counsel for the Class;
            d. Enter a judgment against Defendant for statutory damages, pursuant to 15 U.S.C. §
            1692k;
            e. Award costs, interest, and reasonable attorneys’ fees, pursuant to 15 U.S.C. §
            1692k; and
            f. Grant such other and further relief as may be just and proper.
                                    JURY TRIAL DEMAND

36.    Plaintiff demands a jury trial on all issues so triable.



Dated this 7th of June, 2019.

                                               Respectfully Submitted,


                                               /s/ Daniel Zemel
                                               Daniel Zemel, Esq.
                                               Zemel Law LLC
                                               1373 Broad Street, Suite 203-C
                                               Clifton, New Jersey 07013
                                               T: 862.227.3106
                                               dz@zemellawllc.com
                                               Attorneys for Plaintiff




                                                  7
